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                                     UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                                    ORLANDO DIVISION


UNITED STATES OF AMERICA

v.                                                                                            Case No. 6:07-cr-107-Orl-28GJK

GIORLIANA CORTIJO

 JUDGE:                            John Antoon II                   COUNSEL FOR GOVT:                Bruce S. Ambrose

 DEPUTY CLERK:                     Darleen Darley                   COUNSEL FOR DEFT(S):             Clarence W. Counts, Jr.

 COURT REPORTER:                   Anthony Rolland                  PRETRIAL/PROBATION:              Lisa C. Kindel

 DATE/TIME:                        April 18, 2008                   INTERPRETER:                     Vanessa
                                   9:30-10:15 a.m.                                                   Wangenknecht/Spanish


                                  CLERK’S MINUTES ON CRIMINAL SENTENCING

Defendant is adjudged guilty on Count One of the Indictment.
Motion for Court to recognize defendant’s substantial assistance (Doc. No. 975)   Granted.
IMPRISONMENT:         145 Months.
Supervised Release:    5 Years.
MANDATORY DRUG TESTING requirements are: Imposed.
Special Conditions of Supervised Release are:
        Community Service Program:       Perform 150 hours in lieu of paying a fine.
        Other:    Cooperate in the collection of DNA, as directed by the Probation Officer.
Fine and costs of imprisonment/supervision:     Waived.
Special Assessment:    $100.00.
Count Two of the Indictment is dismissed.
Defendant is remanded to the custody of the U.S. Marshal.
Additional remarks:   Defendant is advised of right to appeal.
